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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,

                          Plaintiff,
                                                           Case No. 1:25-cv-00716 (BAH)
 v.
                                                           Judge Beryl A. Howell
 U.S. DEPARTMENT OF JUSTICE, et al.,

                          Defendants.


                       JOINT MOTION FOR ENLARGEMENT OF TIME
                             TO FILE JOINT STATUS REPORT

           The parties to the above-captioned action, by undersigned counsel, jointly move the Court

to enlarge the time to file their joint status report proposing a schedule to govern further

proceedings in this case from March 13, 2025 at 4:00 p.m. to March 14, 2025 at 3:00 p.m. In

support of this motion, the parties respectfully state as follows:

           1.     On March 12, 2025, the Court ordered inter alia that “parties shall file, by 4:00 PM

on March 13, 2025, a joint status report proposing a schedule to govern further proceedings in this

case.” ECF No. 21 at 2.

           2.     Counsel for the parties have met and conferred in good faith several times since the

Court’s Order and made progress toward finalizing a proposed schedule, but additional time is

necessary to finalize all aspects of the schedule and obtain authorization from their respective

clients.

           3.     The parties therefore respectfully request an extension until 3:00 p.m. on March 14,

2025, to file their joint status report.

           WHEREFORE, the parties respectfully request that the Court enter an Order enlarging the

time to file the joint status report from March 13, 2025 at 4:00 p.m. to March 14, 2025 at 3:00 p.m.
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Dated: March 13, 2025              Respectfully submitted,

                                   WILLIAMS & CONNOLLY LLP

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